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                                                                    July 2, 2021
   By ECF

   Hon. Nicholas G. Garaufis
   United States District Court
   225 Cadman Plaza East
   Brooklyn, New York 11201

                            Re: United States v Nancy Salzman
                                18 Cr. 204 (NGG)

   Dear Judge Garaufis:

           Together with David Stern, I represent Nancy Salzman in the above-captioned matter.
   Without objection of the government, per AUSA Tanya Hajjar, I write to request a bail modification
   as follows: Ms. Salzman’s youngest daughter, Michelle, is due to give birth on August 1, 2021,
   although her doctors believe the birth may be up to two weeks early as Michelle has already begun
   having contractions. It is requested that Ms. Salzman’s bail conditions be expanded to permit her
   to travel to and to remain with Michelle at the hospital during labor and delivery, and to thereafter
   reside with her daughter (who lives near Nancy in Clifton Park, New York) including staying
   overnight with her daughter as desired during the infancy of the child so as to help her daughter and
   son-in-law, and to bond with her first grandchild.

          All information as to Ms. Salzman’s location must be on notice to her Pre-Trial Services
   Officer, Kendra Renny, who shall be kept fully informed as to Ms. Salzman’s location. In all other
   respects, Ms. Salzman’s conditions of release shall remain as they currently are. Thank you very
   much for your attention to this matter.

                                                                    Sincerely,

                                                                    Robert A. Soloway

                                                                    Robert A. Soloway
   cc: AUSA Tanya Hajjar
         (By ECF)
   RAS:sc
